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                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII

  Bodyguard Productions, Inc.,                   )   Case No.: 1:19-cv-456-ACK-WRP
                                                 )   (Copyright)
                         Plaintiff,              )
        vs.                                      )   JOINT REPORT OF MEETING
                                                 )   PURSUANT TO FED. R. CIV. P.
  Pacific DirectConnect, Inc.,                   )   26(f) AND LR 26.1;
                                                 )   CERTIFICATE OF SERVICE
                         Defendant               )
                                                 )   DATE: 11/19/2019
                                                 )   TIME: 9:00 A.M.
                                                 )   JUDGE: THE HONORABLE JUDGE
                                                 )   PORTER


    PLAINTIFF’S REPORT OF MEETING PURSUANT TO FED. R. CIV. P.
                        26(f) AND LR 26.1

   1.         The following persons participated in a Rule 26(f) conference on
              September 17, 2019 by telephone:
              Kerry S. Culpepper, representing the Plaintiff, and
              Dick Mosher, representing the Defendant

   2.         Initial Disclosures. The parties will complete by October 1, 2019 the initial
              disclosures required by Rule 26(a)(1).
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   3.   Discovery Plan. The parties propose this discovery plan:

        (a)   Discovery will be needed on these subjects:
                (i) Plaintiff’s allegations of contributory and direct copyright
              infringement,
               (ii) Defendant’s defenses to the allegation,
              (iii) Any other areas related to claims or defenses.
              (iv) The issues for discovery should change if other parties such as
              Defendant’s subscriber join this case.

        (b)   The parties agree that all discovery shall be conducted in accordance
              with the Court’s normal practice, the FRCP and the local rules.
        (c)   The parties do not have any issues concerning disclosure of
              electronically stored information. The Plaintiff’s counsel pointed out
              that Plaintiff will need data from the router providing service to
              Defendant’s subscriber and will need to know if this router is under the
              control of Defendant or Defendant’s subscriber.
        (d)   The date discovery closes shall be set at the scheduling conference.
        (e)   As per FRCP 33, the maximum number of interrogatories by each
              party to another party shall be 25, including all discrete subparts. The
              answers will be due within 30 days after being served.
        (f)   As per FRCP 36, there shall be no maximum number of requests for
              admission. The answers will be due within 30 days after being
              served.
        (g)   As per FRCP 30, the maximum number of depositions permitted by
              each party shall be 10. The parties agreed that Plaintiff will be able to
              conduct an additional preliminary deposition on the designated party
              of Defendant in addition to the deposition allowed per FRCP in order
              to identify persons in control of the router.
        (h)   As per FRCP 30, depositions will be limited to 7 hours each.
        (i)   The date for the exchange of expert reports shall be set at the
              Scheduling Conference.
        (j)   The date for supplementations under Rule 26(e) shall be set at the
              Scheduling Conference.
        (k)   The parties agreed that all discovery requests and data can be served
              by email to opposing counsel if possible.

   4.   Other Items:
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           (a)   The Parties do not wish to meet with the Court before the scheduling
  order.
           (b)   The date for the pre-trial conference shall be set at the Scheduling
  Conference.
           (c)   The final dates for the Plaintiffs to amend pleadings or to join parties
                 shall be set at the Scheduling Conference.
           (d)   The final dates for the Defendant to amend pleadings or to join parties
                 shall be set at the Scheduling Conference.
           (e)   The final dates to file dispositive motions shall be set at the Scheduling
                 Conference.
           (f)   Parties have discussed settlement and will have further discussions.
           (g)   Parties are unable, at this time to identify any alternative dispute
                 resolution procedure that may enhance settlement prospects.
           (h)   The final dates for submitting Rule 26(a)(3) witness lists, designations
                 of witnesses whose testimony will be presented by deposition, and
                 exhibit lists shall be set at the Scheduling Conference.
           (i)   The final dates to file objections under Rule 26(a)(3) shall be set at the
                 Scheduling Conference.
           (j)   Parties estimate that this case can be ready for trial within 12 months of
                 the Scheduling Conference
           (k)   The parties have discussed alternative dispute resolution options,
                 including, without limitation, the option of participation in the court’s
                 mediation program. Defendant is not open to arbitration. The Parties
                 are prepared to consider this matter further and discuss options at the
                 Scheduling Conference.
           (l)   There is an issue regarding Defendant’s insurance coverage that is yet
                 to be resolved. Depending on resolution of this issue, the counsel for
                 Defendant may change.
           (m)   The insurer requested a further 30 day extension to answer the
                 Complaint to which Plaintiff agreed. Accordingly, Defendant’s answer
                 is due by 11/28/2019.
           (n)   Because Defendant’s answer is not due until after 11/19/2019 (the
                 current date of the scheduling conference), the parties jointly request
                 that the scheduling conference be postponed for at least an additional 30
                 days to be a date subsequent to 11/28/2019.


  Date: September 18, 2019                    /s/ Kerry S. Culpepper
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